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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                   Chapter 11
    In re:
                                                                   Case No. 22-11068 (JTD)
    FTX TRADING LTD., et al., 1
                                                                   (Jointly Administered)
                              Debtors.



                            SUPPLEMENTAL AFFIDAVIT OF SERVICE

       I, Paul Pullo, depose and say that I am employed by Kroll Restructuring Administration
LLC (“Kroll”), the claims and noticing agent for the Debtors in the above-captioned chapter 11
cases.

        On July 8, 2024, at my direction and under my supervision, employees of Kroll caused
the following document to be served via First Class Mail on Venable LLP, (Address ID:
18181984), 151 W 42nd St Fl 4R, New York, NY, 10036-6635:

            Motion of the Debtors for Entry of an Order Authorizing the Debtors to Enter into a
             Stipulation Relating to the Satisfaction of the Restitution Amount that Ryan Salame
             Owes the Debtors Under His Plea Agreement [Docket No. 13631]

Dated: July 15, 2024
                                                                          /s/ Paul Pullo
                                                                          Paul Pullo
State of New York
County of New York

Subscribed and sworn (or affirmed) to me on July 15, 2024, by Paul Pullo, proved to me on the
bases of satisfactory evidence to be the person who executed this affidavit.

/s/ Cindy C. Hosein-Mohan
Notary Public, State of New York
No. 01HO6295177
Qualified in Nassau County
Commission Expires December 30, 2025

1
  The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the Debtors
and the last four digits of their federal tax identification numbers is not provided herein. A complete list of such
information may be obtained on the website of the Debtors’ claims and noticing agent at
https://cases.ra.kroll.com/FTX.



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